                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN

JANIS SHUMWAY, Individually,             :
                                         :
             Plaintiff,                  :
                                         :
v.                                       :              Case No. 1:21-cv-480
                                         :
ANDERSON-PETERS GROUP LLC, A             :
Wisconsin Corporation,                   :
                                         :
             Defendant.                  :
_______________________________________/ :
                                         :
                                         :

                                         COMPLAINT
                                  (Injunctive Relief Demanded)

       Plaintiff, JANIS SHUMWAY, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

ANDERSON-PETERS GROUP LLC, A Wisconsin Corporation, (sometimes referred to as

“Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to

the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.             Plaintiff is a resident of Tennessee, is sui juris, and qualifies as an individual with

               disabilities as defined by the ADA. Plaintiff is unable to engage in the major life

               activity of walking more than a few steps and primarily relies on a wheelchair when

               ambulating. Plaintiff requires accessible handicap parking spaces located closest to

               the entrances of a facility. The handicap and access aisles must be of sufficient width

               so that she can embark and disembark from a ramp into her vehicle. Routes

               connecting the handicap spaces and all features, goods and services of a facility must

               be level, properly sloped, sufficiently wide and without cracks, holes or other hazards
     that can pose a danger of tipping, catching wheels or falling. These areas must be free

     of obstructions or unsecured carpeting that make passage either more difficult or

     impossible. Amenities must be sufficiently lowered so that Plaintiff can reach them.

     She has difficulty operating door knobs, sink faucets, or other operating mechanisms

     that tight grasping, twisting of the wrist or pinching. She is hesitant to use sinks that

     have unwrapped pipes, as such pose a danger of scraping or burning her legs. Sinks

     must be at the proper height so that she can put her legs underneath to wash her

     hands. She requires grab bars both behind and beside a commode so that she can

     safely transfer and she has difficulty reaching the flush control if it is on the wrong

     side. She has difficulty getting through doorways if they lack the proper clearance.

2.   Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

     "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

     determining whether places of public accommodation and their websites are in

     compliance with the ADA.

3.   According to the public property records, Defendant owns a place of public

     accommodation as defined by the ADA and the regulations implementing the ADA,

     28 CFR 36.201(a) and 36.104. The place of public accommodation that the

     Defendant owns is a place of lodging known as Ashbrooke Hotel Egg Harbor WI,

     7942 Egg Harbor Rd, Egg Harbor, WI 54209, and is located in the County of Door,

     (hereinafter "Property").

4.   Venue is properly located in this District because the subject property is located in

     this district.


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5.   Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

     original jurisdiction over actions which arise from the Defendant’s violations of Title

     III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

     U.S.C. § 2201 and § 2202.

6.   As the owner of the subject place of lodging, Defendant is required to comply with

     the ADA. As such, Defendant is required to ensure that it's place of lodging is in

     compliance with the standards applicable to places of public accommodation, as set

     forth in the regulations promulgated by the Department Of Justice. Said regulations

     are set forth in the Code Of Federal Regulations, the Americans With Disabilities Act

     Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated

     by reference into the ADA. These regulations impose requirements pertaining to

     places of public accommodation, including places of lodging, to ensure that they are

     accessible to disabled individuals.

7.   More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

     requirement:

     Reservations made by places of lodging. A public accommodation that owns,
     leases (or leases to), or operates a place of lodging shall, with respect to
     reservations made by any means, including by telephone, in-person, or through a
     third party -
             (i) Modify its policies, practices, or procedures to ensure that individuals
             with disabilities can make reservations for accessible guest rooms during
             the same hours and in the same manner as individuals who do not need
             accessible rooms;
             (ii) Identify and describe accessible features in the hotels and guest rooms
             offered through its reservations service in enough detail to reasonably
             permit individuals with disabilities to assess independently whether a
             given hotel or guest room meets his or her accessibility needs;



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             (iii) Ensure that accessible guest rooms are held for use by individuals
             with disabilities until all other guest rooms of that type have been rented
             and the accessible room requested is the only remaining room of that type;
             (iv) Reserve, upon request, accessible guest rooms or specific types of
             guest rooms and ensure that the guest rooms requested are blocked and
             removed from all reservations systems; and
             (v) Guarantee that the specific accessible guest room reserved through its
             reservations service is held for the reserving customer, regardless of
             whether a specific room is held in response to reservations made by others.

8.    These regulations became effective March 15, 2012.

9.    Defendant, either itself or by and through a third party, accepts reservations for its

      hotel online through one or more websites. The purpose of these websites is so

      that members of the public may reserve guest accommodations and review

      information pertaining to the goods, services, features, facilities, benefits,

      advantages, and accommodations of the Property. As such, these websites are

      subject to the requirements of 28 C.F.R. Section 36.302(e).

10.   Prior to the commencement of this lawsuit, Plaintiff visited the websites for the

      purpose of reviewing and assessing the accessible features at the Property and

      ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and

      his accessibility needs. However, Plaintiff was unable to do so because Defendant

      failed to comply with the requirements set forth in 28 C.F.R. Section 36.302(e).

      As a result, Plaintiff was deprived the same goods, services, features, facilities,

      benefits, advantages, and accommodations of the Property available to the general

      public. Specifically, the following violations were found:




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•   The website for the hotel located at booking.com did not identify or allow

    for reservation of accessible guest rooms and did not provide sufficient

    information regarding accessability at the hotel.

•   The website for the hotel located at expedia.com did not identify or allow

    for reservation of accessible guest rooms and did not provide sufficient

    information regarding accessability at the hotel.

•   The website for the hotel located at hotels.com did not identify or allow

    for reservation of accessible guest rooms and did not provide sufficient

    information regarding accessability at the hotel.

•   The website for the hotel located at priceline.com did not identify or allow

    for reservation of accessible guest rooms and did not provide sufficient

    information regarding accessability at the hotel.

•   The website for the hotel located at orbitz.com did not identify or allow for

    reservation of accessible guest rooms and did not provide sufficient

    information regarding accessability at the hotel.

•   The website for the hotel located at https://ashbrooke.net/ did not identify

    or allow for reservation of accessible guest rooms and did not provide

    sufficient information regarding accessability at the hotel.

•   The website for the hotel located at www.agoda.com did not identify or

    allow for reservation of accessible guest rooms and did not provide

    sufficient information regarding accessability at the hotel.




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      •       The website for the hotel located at reservations.com did not identify or

              allow for reservation of accessible guest rooms and did not provide

              sufficient information regarding accessability at the hotel.

11.   Plaintiff plans to travel to and throughout the entire state and stay in hotels as

      soon as the Covid crisis is over and it becomes safe to travel. These plans existed

      prior to Plaintiff's filing of any complaints in this State. The failure of Defendant's

      hotel and so many other hotels to comply with the law deprives her of the

      information she requires to make a meaningful choice in deciding which hotel she

      can stay in.

12.   Plaintiff visited the online reservations system for this hotel to ascertain whether it

      is sufficiently accessible so that she would be able to stay in the hotel during her

      upcoming visit.

13.   Plaintiff will also re-visit the hotel's online reservations system as soon as the

      Covid crisis is over for the purpose of selecting hotels in which she can stay

      during her upcoming trip.

14.   In the near future, Plaintiff intends to revisit Defendant's online reservations

      system in order to test it for compliance with 28 C.F.R. Section 36.302(e). In this

      respect, Plaintiff maintains a system to ensure that she revisits the online

      reservations system of every hotel she sues. By this system, Plaintiff maintains a

      list of all hotels she has sued with several columns following each. She

      continually updates this list by, among other things, entering the dates she did visit

      and plans to again visit the hotel's online reservations system. With respect to


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      each hotel, she visits the online reservations system multiple times prior to the

      complaint being filed, then visits again shortly after the complaint is filed. Once a

      judgment is obtained or settlement agreement reached, she records the date by

      which the hotel's online reservations system must be compliant and revisits when

      that date arrives.

15.   Plaintiff is continuously aware that the subject websites remain non-compliant and

      that it would be a futile gesture to revisit the websites as long as those violations

      exist unless she is willing to suffer additional discrimination.

16.   The violations present at Defendant's websites infringe Plaintiff's right to travel

      free of discrimination and deprive her of the information required to make

      meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

      frustration and humiliation as the result of the discriminatory conditions present at

      Defendant's websites. By continuing to operate the websites with discriminatory

      conditions, Defendant contributes to Plaintiff's sense of isolation and segregation

      and deprives Plaintiff the full and equal enjoyment of the goods, services,

      facilities, privileges and/or accommodations available to the general public. By

      encountering the discriminatory conditions at Defendant's website, and knowing

      that it would be a futile gesture to return to the websites unless she is willing to

      endure additional discrimination, Plaintiff is deprived of the same advantages,

      privileges, goods, services and benefits readily available to the general public. By

      maintaining a websites with violations, Defendant deprives Plaintiff the equality

      of opportunity offered to the general public. Defendant's online reservations


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      system serves as a gateway to its hotel. Because this online reservations system

      discriminates against Plaintiff, it is thereby more difficult to book a room at the

      hotel or make an informed decision as to whether the facilities at the hotel are

      accessible.

17.   Plaintiff has suffered and will continue to suffer direct and indirect injury as a

      result of the Defendant’s discrimination until the Defendant is compelled to

      modify its websites to comply with the requirements of the ADA and to

      continually monitor and ensure that the subject websites remain in compliance.

18.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination

      from the Defendant’s non-compliance with the ADA with respect to these

      websites. Plaintiff has reasonable grounds to believe that she will continue to be

      subjected to discrimination in violation of the ADA by the Defendant.

19.   The Defendant has discriminated against the Plaintiff by denying her access to,

      and full and equal enjoyment of, the goods, services, facilities, privileges,

      advantages and/or accommodations of the subject website.

20.   The Plaintiff and all others similarly situated will continue to suffer such

      discrimination, injury and damage without the immediate relief provided by the

      ADA as requested herein.

21.   Defendant has discriminated against the Plaintiff by denying her access to full and

      equal enjoyment of the goods, services, facilities, privileges, advantages and/or

      accommodations of its place of public accommodation or commercial facility in

      violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the


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             Defendant continues to discriminate against the Plaintiff, and all those similarly

             situated by failing to make reasonable modifications in policies, practices or

             procedures, when such modifications are necessary to afford all offered goods,

             services, facilities, privileges, advantages or accommodations to individuals with

             disabilities; and by failing to take such efforts that may be necessary to ensure that

             no individual with a disability is excluded, denied services, segregated or

             otherwise treated differently than other individuals because of the absence of

             auxiliary aids and services.

22.          Plaintiff is without adequate remedy at law and is suffering irreparable harm.

             Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

             fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

             12205 and 28 CFR 36.505.

23.          Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

             Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

             subject websites to make them readily accessible and useable to the Plaintiff and

             all other persons with disabilities as defined by the ADA and 28 C.F.R. Section

             36.302(e); or by closing the websites until such time as the Defendant cures its

             violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).


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b.   Injunctive relief against the Defendant including an order to revise its websites to

     comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

     maintain the websites to ensure that it remains in compliance with said requirement.

c.   An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

     § 12205.

d.   Such other relief as the Court deems just and proper, and/or is allowable under

     Title III of the Americans with Disabilities Act.

                           Respectfully Submitted,

                                   /s/ Tristan W. Gillespie
                                   Tristan W. Gillespie, Esq.

                                   THOMAS B. BACON, P.A.
                                   5150 Cottage Farm Rd.
                                   Johns Creek, GA 30022
                                   Tel: 404.276.7277
                                   gillespie.tristan@gmail.com




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